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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    FRANCHISE GROUP, INC., et al.,                         Case No. 24-12480 (JTD)
                                                           (Jointly Administered)
                    Debtors.
                                                           Hearing Date: TBD
                                                           Objection Deadline: TBD


    NOTICE OF MOTION OF THE AD HOC GROUP OF FREEDOM LENDERS FOR
              ENTRY OF AN ORDER (I) TERMINATING EXCLUSIVITY
                 IN THE HOLDCO DEBTORS’ CASES, (II) LIFTING
           THE AUTOMATIC STAY IN THE HOLDCO DEBTORS’ CASES, OR
     (III) APPOINTING A CHAPTER 11 TRUSTEE FOR THE HOLDCO DEBTORS

             PLEASE TAKE NOTICE that the Ad Hoc Group of Freedom Lenders (the

    “Freedom Lender Group”) filed the Motion for Entry of an Order (I) Terminating Exclusivity

    in the Holdco Debtors’ Cases, (II) Lifting the Automatic Stay in the Holdco Debtors’ Cases,

    or (III) Appointing a Chapter 11 Trustee for the Holdco Debtors (the “Motion”)1 with the

    United States Bankruptcy Court for the District of Delaware (the “Court”) seeking entry of an

    order requesting various relief, as set forth more fully in the Motion. YOUR RIGHTS MAY

    BE AFFECTED BY THIS MOTION. Accordingly, you should read this notice and the

    Motion.

             PLEASE TAKE FURTHER NOTICE that any objection to the Motion must be filed

    on or before TBD, at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”) with

    the United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd

    Floor, Wilmington, Delaware 19801, and served on the undersigned counsel so as to be

    received on or before the Objection Deadline.

             PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion will be

    held on TBD (prevailing Eastern Time) before the Honorable John T. Dorsey in the United


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      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
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States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor, Courtroom

No. 5, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that the Court may grant the relief

requested in the Motion without further notice or a hearing if you fail to respond to the

Motion in accordance with this notice. Copies of the Motion and other filings in this chapter

11 case can accessed for free at https://cases.ra.kroll.com/FRG/.




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Dated: November 20, 2024           Respectfully submitted,

                                   FARNAN LLP

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